       Case 25-30155 Document 139-1 Filed in TXSB on 06/16/25 Page 1 of 4




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

    IN RE:                                                  §       CASE NO. 25-30155
                                                            §
    ALLIANCE FARM AND RANCH, LLC,                           §       (CHAPTER 11)
                                                            §
         DEBTOR                                             §
                                                            §
    IN RE:                                                  §       CASE NO. 25-31937
                                                            §
    ALLIANCE ENERGY PARTNERS,                               §       (CHAPTER 11)
    LLC,                                                    §
                                                            §
         DEBTOR                                             §


         ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
          OF HOWLEY LAW PLLC AS CHAPTER 11 TRUSTEE COUNSEL

       Upon the application (the “Application”) 1 of the Chapter 11 Trustee (the “Trustee”) for

the bankruptcy estates (the “Estates”) of the above-captioned debtors (“Debtors”) for the entry of

an order (the “Order”) authorizing the Trustee to retain and employ Howley Law PLLC (“Howley

Law”) as his general bankruptcy counsel effective as of May 28, 2025, as set forth in the

Application; and the Court having reviewed the Application, the Declaration of Eric Terry, of

Counsel to Howley Law (the “Terry Declaration”), and it appearing that no other or further notice

of the Application is required; and it appearing that the Court has jurisdiction to consider the

Application in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the Southern District of Texas, dated May 24,

2012; and it appearing that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and that the

Court may enter a final order consistent with Article III of the United States Constitution; and it




1
       Capitalized terms used but not otherwise defined herein shall have the meaning set forth in the Application.

                                                       1
       Case 25-30155 Document 139-1 Filed in TXSB on 06/16/25 Page 2 of 4




appearing that venue of this proceeding and the Application is proper pursuant to 28 U.S.C. §§

1408 and 1409; and the Court having found based on the representations made in the Application,

and the Terry Declaration, that Howley Law’s employment is in the best interests of the Debtors’

Estates and Howley Law (a) does not represent, and does not hold, any interest adverse to the

Debtors or the Debtors’ Estates, and (b) is a “disinterested person” within the meaning of section

101(14) of the Bankruptcy Code; and the Court having determined that the legal and factual bases

set forth in the Application establish just cause for the relief granted herein; and sufficient cause

appearing therefore, it is HEREBY ORDERED THAT:

       1.      The Trustee is authorized pursuant to sections 327, 328, and 330 of the Bankruptcy

Code, Bankruptcy Rules 2014 and 2016, and Local Rules 2014-1 and 2016-1, to employ and retain

Howley Law as general bankruptcy counsel for the Trustee effective May 28, 2025 in accordance

with the terms and conditions set forth in the Engagement Letter attached to the Application as

Exhibit B, as may be modified by this Order.

       2.      In the event of any inconsistency among the Engagement Letter, the Application,

the Terry Declaration, and this Order, the terms of this Order shall govern.

       3.      Howley Law shall be compensated in accordance with the terms of the Engagement

Letter as modified by this Order, and shall file fee applications for monthly, interim, and final

allowance of compensation and reimbursement of expenses, if any, that comply with the

procedures set forth in sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the

Local Rules, and any orders or procedures of this Court. For billing purposes, Howley Law shall

keep its time in one tenth (1/10) hour increments. Howley Law also intends to make a reasonable

effort to comply with the U.S. Trustee’s requests for additional information both in connection




                                                 2
       Case 25-30155 Document 139-1 Filed in TXSB on 06/16/25 Page 3 of 4




with the Application and the interim and final fee applications to be filed by Howley Law in these

chapter 11 cases.

       4.        Howley Law shall provide ten business days’ notice to the Debtors, the U.S.

Trustee and the Trustee before any increases in the hourly rates set forth in the Application or

the Engagement Letter are implemented. The U.S. Trustee retains all rights to object to any

rate increase on all grounds, including the reasonableness standard set forth in section 330 of

the Bankruptcy Code, and the Court retains the right to review any rate increase pursuant to

section 330 of the Bankruptcy Code.

       5.        Notwithstanding anything to the contrary in the Application or the Terry

Declaration, Howley Law shall not be entitled to reimbursement for fees and expenses in

connection with any objection to its fees, without further order of the Court.

       6.        To the extent that Howley Law uses the services of contract attorneys in these cases,

Howley Law (i) shall pass-through the cost of such contract attorneys at the same rate that Howley

Law pays the contract attorneys; (ii) shall seek reimbursement for actual out-of-pocket expenses

only; and (iii) shall ensure that the contract attorneys are subject to the same conflict checks and

disclosures as required of Howley Law by Bankruptcy Rule 2014.

       7.        The Trustee and Howley Law are authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Application as modified

by this Order.

       8.        Notice of the Application as provided therein is deemed to be good and sufficient

notice of such Application, and the requirements of the Local Rules are satisfied by the contents

of the Application.




                                                   3
       Case 25-30155 Document 139-1 Filed in TXSB on 06/16/25 Page 4 of 4




       9.      Howley Law will review its files periodically during the pendency of these

chapter 11 cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If

any new relevant facts or relationships are discovered or arise, Howley Law will use reasonable

efforts to identify such further developments and will file a supplemental declaration, as required

under Bankruptcy Rule 2014(a).

       10.     Notwithstanding Bankruptcy Rule 6004(a), the terms and conditions of this Order

shall be immediately effective and enforceable upon entry of this Order.

       11.     The Court retains jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation, or enforcement of this Order.

Dated: _________________, 2025
Houston, Texas
                                              _____________________________________
                                              ALFREDO R. PEREZ
                                              UNITED STATES BANKRUPTCY JUDGE




                                                 4
